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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JYQWAVOUS WHITAKER,

             Plaintiff,                           CIVIL ACTION FILE
v.                                                NO. 1:21-CV-03781-AT-JSA

SHERIFF VICTOR HILL, in his
individual and official capacities, as
Sheriff of Clayton County Georgia and
RAYMON SHEROD WINN, in his
individual capacity, as a Clayton County
Deputy Sheriff.

             Defendants.


                                     ORDER

      Defendant Raymon Sherod Winn has moved this Court to stay all discovery

in this case pending the resolution of his motion to dismiss plaintiff’s complaint. It

appearing that this Order is sought in good faith, and good cause having been

shown, IT IS HEREBY ORDERED that the Motion to Stay All Discovery is

GRANTED. All discovery in this case, including disclosures pursuant to Fed. R.

Civ. P. 26 and L.R. 26.1, shall be stayed pending the final resolution of the pending

motion to dismiss plaintiff’s complaint.

      SO ORDERED this ___ day of ____________, 2021.

                                       _________________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE
